            Case 2:20-cv-01765-APG-EJY Document 66 Filed 10/31/22 Page 1 of 2




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          Attorneys     for Defendant M.J. Dean Construction,   Inc.
      7
                                        UNITED STATES DISTRICT COURT
      8
                                               DISTRICT OF NEVADA
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           PARNELL COLVIN,                                  Case   No. 2:20-cv -01765-APG-EJY
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F]
F]
           Plaintiff,                                       DEFENDANT'S NON.OPPOSITION
     11                                                     TO PLAINTIFF'S MOTION TO
a          VS                                               WITHDRAW AS COUNSEL FOR
H    T2                                                     PLAINTIFF
z&
           M.J. DEAN CONSTRUCTION, INC,
F    13
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           Defendant.
&    t4

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€                 Defendant, M.J. DEAN CONSTRUCTION, INC., case No. 2:20-Iv-01765-APG-EJY,
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&
     l7   by and through its attorney of record, Robert L. Rosenthal, Esq. of Howard & Howard Attorneys,
o
     18   PLLC, hereby notiff the Court that they do not oppose Plaintiff   s   Motion to Withdraw as Counsel

     19   for Plaintiff.
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                  Dated: October     31,2022             Respectfully submitted,
     2t
     22
                                                         HOWARD & HOWARD ATTORNEYS PLLC

     23                                                  By: /s/ Robert Rosenthal
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     26                                                     Construction, Inc.

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             Case 2:20-cv-01765-APG-EJY Document 66 Filed 10/31/22 Page 2 of 2



                                                           CERTIFICATE OF SERVICE
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                  I   hereby certi$/ that a true and correct copy             of the foregoing document has been

      J    electronically filed and served upon the following parties on October 31,2022 through the Court's

      4    ECF system.

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l.]                                                                          I)unn
      l1                                                            /s/ B
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f-l   T2                                                      Howard & Howard Attorneys PLLC
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